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 5                         IN THE UNITED STATES DISTRICT COURT
 6                                FOR THE DISTRICT OF ARIZONA
 7   Michael Lewis,                                      No. CV-16-01567-PHX-GMS
 8                   Plaintiff,                          ORDER
 9   v.
10   U.S. Collections West Inc., et al.,
11                   Defendants.
12
     U.S. Collections West, Inc.,
13
              Third Party Plaintiff,
14
     v.
15
     The Barry Company, LLC,
16
              Third Party Defendant.
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19            Pursuant to the parties’ Stipulation for Dismissal With Prejudice (Doc. 38) and
20   good cause appearing,
21            IT IS ORDERED that all claims of Plaintiff Michael Lewis against Defendants
22   US Collections West, Inc., and Experian Information Solutions, Inc. and the third-party
23   complaint against The Barry Company are dismissed with prejudice. All parties shall
24   each bear their own costs and attorneys’ fees.
25            Dated this 28th day of November, 2016.
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27                                Honorable G. Murray Snow
                                  United States District Judge
28
